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lN THE UNITED STATES DISTRICT COURT

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FoR THE WESTERN DISTRICT oF TENNESSEE F"‘E° y -~-- °°

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W/DN:# 7 llE’»lPHlS
v. Cr. No. 05-20280 05 D

TANYA W. FIELDS
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The United States Attomey in this case advised the defendant has been arrested elsewhere
and requested a one week continuance to attempt to locate the defendant Pursuant to the Speedy
Trial Act, as set out in 18 U.S.C. § 3161(h)(3)(A) the court may grant the defendant a period of
excludable delay to serve the ends of justice, if the defendant is unavailable or absent.

IT IS THEREFORE ORDERED that the time period ofAugust 31, 2005 through September
7, 2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case.

ARRAIGNMENT IS RESET TO WEDNESDAY, September 7, 2005 at 10:00 a.m.

BEFORE MAGISTRATE JUDGE VESCOVO.

h/ (/Wlm Mf ____
UNITED STATES MAGISTRATE JUDGE

DATE: 08/31/05

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with Rule 55 and/or 32(b) FRCrP on gee

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20280 vvas distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listedl

 

 

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Honorable Bernice Donald
US DISTRICT COURT

